          Case 17-51882-CSS          Doc 344    Filed 07/07/20     Page 1 of 128




                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE

 In re                                            Chapter 11

 PARAGON OFFSHORE PLC, et al.,                    Case No. 16-10386

                        Debtors.

 PARAGON LITIGATION TRUST,

                        Plaintiff,

 v.

 NOBLE CORPORATION PLC, NOBLE
 CORPORATION HOLDINGS LTD,
 NOBLE CORPORATION, NOBLE
 HOLDING INTERNATIONAL
 (LUXEMBOURG) S.à.r.l., NOBLE
 HOLDING INTERNATIONAL
 (LUXEMBOURG NHIL) S.à.r.l., NOBLE                Adv. Proc. No. 17-51882 (CSS)
 FDR HOLDINGS LIMITED, NOBLE
 HOLDING INTERNATIONAL LIMITED,
 NOBLE HOLDING (U.S.) LLC, NOBLE
 INTERNATIONAL FINANCE
 COMPANY, MICHAEL A. CAWLEY,
 JULIE H. EDWARDS, GORDON T.
 HALL, JON A. MARSHALL, JAMES A.
 MACLENNAN, MARY P.
 RICCIARDELLO, JULIE J. ROBERTSON,
 AND DAVID W. WILLIAMS,

                        Defendants.


 APPENDIX AND DECLARATION OF JEFFREY J. ZEIGER IN SUPPORT OF
REPLY IN SUPPORT OF THE PARAGON LITIGATION TRUST’S MOTION IN
    LIMINE TO PRECLUDE TESTIMONY FROM DANIEL OLIVARES

         I, Jeffrey J. Zeiger, declare under the penalty of perjury, pursuant to 28 U.S.C.

§ 1746, that the following is true and correct to the best of my knowledge:

         1.     I am an attorney at law duly admitted to the practice of law in the State of

Illinois and am a partner at the law firm of Kirkland & Ellis LLP, with an office located at
         Case 17-51882-CSS         Doc 344       Filed 07/07/20      Page 2 of 128




300 N. LaSalle St, Chicago, IL 60654. Kirkland & Ellis is counsel to the Paragon Litigation

Trust in the above-captioned matter.

       2.      I respectfully submit this Declaration in Support of the Reply in Support of

the Paragon Litigation Trust’s Motion In Limine to Preclude Testimony from Daniel

Olivares and to submit true and correct copies of the documents attached hereto.

       3.      Attached hereto are true and correct copies of the following documents:

                                       APPENDIX

    Date                               Description                               Page Nos.
 7/29/2011               Project Sahara Update [Noble_00564608]                    C1 -C12
 6/00/2013            Mexican Jackup Sale Analysis [Noble_00114741]              C13 - C28
 11/21/2013                D. Olivares Email [Noble_00150027]                        C29
  2/5/2014              TSUL Servicios Limited Agency Agreement                  C30 - C51
                                  [PGN20190177188]
  2/5/2014            Danter Investments Limited Agency Agreement                C52 - C73
                                   [PGN20190177234]
 3/27/2019                       A. Sheehan Davis Letter                         C74 - C82
 4/12/2019                       A. Sheehan Davis Letter                        C83 - C114
 9/18/2019                       A. Sheehan Davis Letter                        C115 - C117

       I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge and information.

Dated: July 7, 2020

                                             /s/ Jeffrey J. Zeiger
                                             Jeffrey J. Zeiger




                                             2
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 3 of 128




7/29/2011 Project Sahara Update [Noble_00564608]
Case 17-51882-CSS   Doc 344    Filed 07/07/20   Page 4 of 128




                          C1
Case 17-51882-CSS   Doc 344    Filed 07/07/20   Page 5 of 128




                          C2
Case 17-51882-CSS   Doc 344    Filed 07/07/20   Page 6 of 128




                          C3
Case 17-51882-CSS   Doc 344    Filed 07/07/20   Page 7 of 128




                          C4
Case 17-51882-CSS   Doc 344    Filed 07/07/20   Page 8 of 128




                          C5
Case 17-51882-CSS   Doc 344    Filed 07/07/20   Page 9 of 128




                          C6
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 10 of 128




                          C7
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 11 of 128




                          C8
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 12 of 128




                          C9
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 13 of 128




                          C10
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 14 of 128




                          C11
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 15 of 128




                          C12
   Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 16 of 128




6/00/2013 Mexican Jackup Sale Analysis [Noble_00114741]
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 17 of 128




                          C13
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 18 of 128




                          C14
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 19 of 128




                          C15
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 20 of 128




                          C16
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 21 of 128




                          C17
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 22 of 128




                          C18
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 23 of 128




                          C19
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 24 of 128




                          C20
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 25 of 128




                          C21
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 26 of 128




                          C22
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 27 of 128




                          C23
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 28 of 128




                          C24
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 29 of 128




                          C25
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 30 of 128




                          C26
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 31 of 128




                          C27
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 32 of 128




                          C28
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 33 of 128




  11/21/2013 D. Olivares Email [Noble_00150027]
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 34 of 128




                          C29
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 35 of 128




2/5/2014 TSUL Servicios Limited Agency Agreement
               [PGN20190177188]
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 36 of 128




                          C30
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 37 of 128




                          C31
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 38 of 128




                          C32
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 39 of 128




                          C33
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 40 of 128




                          C34
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 41 of 128




                          C35
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 42 of 128




                          C36
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 43 of 128




                          C37
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 44 of 128




                          C38
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 45 of 128




                          C39
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 46 of 128




                          C40
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 47 of 128




                          C41
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 48 of 128




                          C42
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 49 of 128




                          C43
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 50 of 128




                          C44
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 51 of 128




                          C45
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 52 of 128




                          C46
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 53 of 128




                          C47
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 54 of 128




                          C48
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 55 of 128




                          C49
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 56 of 128




                          C50
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 57 of 128




                          C51
  Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 58 of 128




2/5/2014 Danter Investments Limited Agency Agreement
                  [PGN20190177234]
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 59 of 128




                          C52
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 60 of 128




                          C53
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 61 of 128




                          C54
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 62 of 128




                          C55
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 63 of 128




                          C56
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 64 of 128




                          C57
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 65 of 128




                          C58
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 66 of 128




                          C59
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 67 of 128




                          C60
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 68 of 128




                          C61
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 69 of 128




                          C62
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 70 of 128




                          C63
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 71 of 128




                          C64
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 72 of 128




                          C65
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 73 of 128




                          C66
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 74 of 128




                          C67
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 75 of 128




                          C68
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 76 of 128




                          C69
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 77 of 128




                          C70
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 78 of 128




                          C71
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 79 of 128




                          C72
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 80 of 128




                          C73
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 81 of 128




         3/27/2019 A. Sheehan Davis Letter
                      Case 17-51882-CSS         Doc 344       Filed 07/07/20           Page 82 of 128




                         S KADDEN , A RPS , S LATE , M EAGHER & F LOM                           LLP
                                                 FOUR TIMES SQUARE
                                                                                                        FIRM/AFFILIATE OFFICES
                                               NEW YORK 10036-6522                                              -----------
                                                           ________                                           BOSTON
                                                                                                             CHICAGO
                                                   TEL: (212) 735-3000                                       HOUSTON
                                                   FAX: (212) 735-2000                                     LOS ANGELES
                                                                                                            PALO ALTO
                                                     www.skadden.com                                     WASHINGTON, D.C.
  DIRECT DIAL                                                                                               WILMINGTON
                                                                                                                -----------
2127353579
                                                                                                               BEIJING
  DIRECT FAX
                                                                                                             BRUSSELS
9177773579                                                                                                  FRANKFURT
  EMAIL ADDRESS                                                                                             HONG KONG
ABIGAIL.SHEEHAN@SKADDEN.COM                                                                                   LONDON
                                                                                                              MOSCOW
                                                                                                               MUNICH
                                                                                                                PARIS
                                                                                                            SÃO PAULO
                                                                      March 27, 2019                           SEOUL
                                                                                                             SHANGHAI
                                                                                                            SINGAPORE
                                                                                                                TOKYO
                                                                                                              TORONTO




                  BY E-MAIL
                  Anne I. Salomon
                  Kirkland & Ellis LLP
                  300 North LaSalle
                  Chicago, IL 60654

                                         RE:    Paragon Litigation Trust v. Noble Corporation plc, et
                                                al. Adv. Proc. No.: 17-51882

                  Dear Anne:

                          I write in response to your March 12, 2019 letter (the “March 12 Letter”)
                  regarding purported deficiencies in Noble’s document productions and interrogatory
                  responses. Neither of your justifications for the Trust’s delay alters Noble’s view of
                  what happened, as outlined in our letter from February 27, 2019 (the “February 27
                  Letter”). Furthermore, your letter demonstrates that the Trust still fundamentally
                  misunderstands the issue. That the Trust took only a month to identify so-called
                  gaps in Noble’s production is beside the point; having possessed Noble’s document
                  production since December 2017, the Trust waited over a year—after the parties had
                  already resolved the issues of search terms and custodians after significant
                  negotiations and until the brink of the fact discovery deadline—to raise these
                  concerns for the first time.

                          Nevertheless, Noble has already committed to accommodate the Trust’s
                  belated concerns where reasonable. For example, Noble has re-reviewed documents
                  specifically challenged by the Trust and agreed to reproduce its privilege logs with




                                                         C74
     Case 17-51882-CSS         Doc 344     Filed 07/07/20      Page 83 of 128


Anne I. Salomon
March 27, 2019
Page 2



additional information. Noble will not, however, re-review every single one of the
thousands of document on its privilege logs in response to the Trust’s amorphous
“concerns,” nor undertake a review of tens of thousands of documents from several
new custodians or review thousands of additional documents from the existing
custodians based on new search terms.

       With these considerations in mind, Noble responds to the Trust’s specific
concerns below.

1.     Custodians.

        The Trust’s contention that Noble failed to designate certain custodians
ignores how discovery has proceeded in this case. Nearly two years ago, Noble and
the Trust spent months negotiating the scope of proper custodians and search terms
to use during the Rule 2004 discovery process. At that time, the Trust had already
received thousands of documents that Noble produced pursuant to the requests for
production served by the Official Committee of Unsecured Creditors (the
“Committee”) on March 3, 2017. When the Committee—represented by Jones
Day—was negotiating the scope of Rule 2004 discovery, it stated on June 14, 2017
that “we would like to reach an agreement with you to define the set of custodians
whose files should be searched.” To that end, on June 26, 2017, the Committee
asked Noble to “produce organization charts dating back to 2011 so that the
Committee can determine whether there are custodians, in addition to those that
Noble previously identified, whose files should be searched in response [to] the
subpoena.” Noble then produced those charts to the Trust, which had stepped into
the shoes of the Committee once the Committee was dissolved.

         Over the following months, the Trust independently assessed what custodians
it believed were appropriate, and negotiated with Noble on that issue. For instance,
on July 26, 2017, the Trust proposed six new custodians “[b]ased on its review of
Noble’s prior production.” On August 18, 2017, the Trust proposed on August 18,
2017, that Noble produce from two additional custodians “based on documents that
have recently been reviewed.” And on September 18, 2017, the Trust “request[ed]
that Andrew Tietz be added as a custodian for all searches concerning Pemex or
Petrobras for the time period January 1, 2013 to February 14, 2016.”

        The Trust failed to raise any of the four custodians currently at issue during
these negotiations, or at any time in the months after receiving Noble’s Rule 2004
productions. Instead, the Trust waited until the brink of the initial discovery cutoff
to raise this issue. The Trust argues that it needed additional time to conduct an
analysis to determine if there were gaps in Noble’s production. But the Trust was




                                       C75
     Case 17-51882-CSS          Doc 344     Filed 07/07/20      Page 84 of 128


Anne I. Salomon
March 27, 2019
Page 3



able to conduct this analysis in 2017—and in fact asked Noble to add Andrew Tietz
as a custodian for issues relating to Pemex and Petrobras. Moreover, the Trust could
have conducted this analysis at any time after receiving substantially all of Noble’s
document production by March 2018. If the Trust was able to inform Noble that it
wanted four additional custodians in December 2018, surely it should not have
needed another two months to explain why.

        Nevertheless, as previously stated in the February 27 Letter, Noble is willing
to harvest and review certain documents from Bodley Thornton, Bruno Morand, and
Gene House. As Noble has noted, Daniel Olivares was not a Noble employee.
However, Noble has reached out in good faith to Mr. Olivares to determine what
documents, if any, he has, and will collect any potentially relevant files. Noble is
available to meet and confer with the Trust to discuss appropriately narrowly-tailored
search terms for these custodians which reflect their specific roles vis-a-vis the
Paragon assets.

2.     Privilege Assertions.

        As an initial matter, Noble has conducted thorough privilege reviews and
produced extensive privilege logs that more than adequately describe the withheld or
redacted documents, in full compliance with the requirements of Federal Rule of
Civil Procedure 26(b)(5). Noble has repeatedly produced supplemental logs in
response to the Trust’s previous requests for additional information. While the Trust
is correct that the party asserting privilege has the burden of proving its applicability,
Noble’s privilege logs do just that. If the Trust has concerns about specific
documents on Noble’s logs, it should identify them and Noble will consider re-
reviewing them. Noble, however, will not conduct a wholesale re-review of
thousands of pre-Spin documents based on the Trust’s general concern about the
possibility that some documents may have been improperly withheld.

       (a)     The Master Separation Agreement.

        Noble does not dispute the basis of the Trust’s control of the Paragon
privilege, or Paragon’s control of the privilege as to documents relating to the
“Paragon Business” under the MSA. Further, Noble agrees that the transfer of
privilege under the MSA is consistent with the holding of Commodity Futures
Trading Comm’n v. Weintraub, 471 U.S. 343 (1985). Noble applied this
understanding to its privilege reviews. But neither Paragon nor the Trust control the
privilege as to Noble’s business or the Spin-Off. In the September 25, 2018
stipulation (the “Stipulation”), Noble and the Trust agreed which otherwise-
privileged documents relating to the Spin-Off were discoverable, and Noble




                                        C76
    Case 17-51882-CSS          Doc 344      Filed 07/07/20     Page 85 of 128


Anne I. Salomon
March 27, 2019
Page 4



produced documents in accordance with this agreement. Documents that do not
relate to the Paragon Business, or that relate to the Spin-Off but are outside of the
time frame covered by the Stipulation may still be withheld as privileged.

        The Trust has provided no evidence, nor pointed to any specific entries on
Noble’s privilege log, in support of its sweeping assertion that Noble has improperly
withheld or redacted hundreds of pre-Spin documents discussing the Paragon
Business. Noble reviewed documents on its logs that included Pemex or Petrobras in
their description because these were the only descriptions on the logs that, on their
face, potentially involved the Paragon Business. Additionally, in negotiating the
Stipulation, Noble and the Trust agreed that Noble would not produce documents,
such as Noble 10-Ks, that might include only peripheral discussions of the Paragon
Business. (See Stipulation ¶ 5.) Despite this earlier agreement, the Trust now tries
to walk away from it and apply a more aggressive standard to all pre-Spin
documents, which is inconsistent with both the parties’ negotiations and the transfer
of privilege outlined in the MSA. The Trust cannot now retrade this deal. If the
Trust is concerned that specific documents might relate to the Paragon Business, then
Noble will consider whether it will review those documents.

       (b)     The September 25, 2018 Privilege Stipulation.

        Noble reviewed the privilege logs to identify documents that were dated
between April 1, 2013 and August 1, 2014. Noble produced all documents from that
review which related to the Spin-Off or the Paragon Business. Pursuant to the
parties’ agreement, Noble continued to withhold documents within that time frame
that concerned the Noble Business, or that contained only a peripheral discussion of
the Paragon Business. Noble also reviewed the privilege logs to identify documents
that were dated after December 13, 2013, and produced all documents it identified
that were sent or received by members of the Paragon management team. Finally,
Noble reviewed the privilege logs to identify documents that were dated between
December 13, 2013 and August 1, 2014 and produced those sent or received by
James MacLennan.

        To the extent the Trust has additional concerns about documents within the
time frames covered by the Stipulation, it should follow the procedure outlined in
Paragraph 9 of the Stipulation, and advise Noble of any communication for which it
requires more detailed descriptions or that it believes is discoverable. As Noble has
already stated, it will not conduct a wholesale re-review of its logs in response to the
Trust’s generalized concern that certain unidentified documents might be
discoverable.




                                        C77
    Case 17-51882-CSS          Doc 344      Filed 07/07/20     Page 86 of 128


Anne I. Salomon
March 27, 2019
Page 5



       (c)     Draft SEC Filings and Press Releases.

         The Trust misstates both Noble’s position and the applicable case law with
respect to draft SEC filings and press releases. As Noble pointed out in its February
27 Letter, draft SEC filings are documents that, by their nature, are heavily reviewed
and edited by attorneys. It was Noble’s practice to have attorneys review and
comment on all draft SEC filings. A review of different drafts will necessarily reveal
confidential attorney-client communications. See Jedwab v. MGM Grand Hotels,
Inc., No. CIV.A. 8077, 1986 WL 3426, at *3 (Del. Ch. Mar. 20, 1986)(“[N]ew
information disclosed from comparing drafts of SEC filings with the filed documents
themselves necessarily relates to and may inferentially disclose communications
between a client and its lawyers charged with preparing the final documents.
Communications of this kind are clearly made ‘for the purpose of facilitating the
rendition of professional legal services’ and lie at the heart of the confidential
communications that the lawyer-client privilege seeks to protect.”). As a result, the
Trust can hardly say that certain draft versions of these filings “no longer appear to
be attorney drafts.” Moreover, simply because drafts may have been sent to non-
attorneys does not waive the privilege. United Food & Commercial Workers Union
v. Chesapeake Energy Corp., No. CIV-09-1114-D, 2012 WL 2370637, at *10 (W.D.
Okla. June 22, 2012) (withholding draft SEC filings and press releases because “the
attorney-client privilege remains applicable to drafts of documents which were
prepared or reviewed by the attorney at the request of the client[.]”) (emphasis
added); see also Smith v. Unilife Corp., No. CIV.A. 13-5101, 2015 WL 667432, at
*3 (E.D. Pa. Feb. 13, 2015) (“Form 10–K requires extremely detailed financial, legal
and structural information and that the determination of what information should be
disclosed for compliance is not merely a business operation, but a legal concern.”)
(citing Roth v. Aon Corp., 254 F.R.D. 538, 541 (N.D. Ill. 2009)). And, as the Trust
itself concedes, many of these drafts were sent to groups that do include attorneys.
(See March 12 Letter at 5 (pointing to “documents sent to larger groups of non-
attorneys such as an internal audit or business committee comprised primarily of
non-attorneys.”).)

        Likewise, Noble’s press releases were reviewed and approved by attorneys.
Accordingly, drafts of these releases include privileged attorney-client
communications. See Macario v. Pratt & Whitney Canada, Inc., No. CIV. A. 90-
3906, 1991 WL 6117, at *1 (E.D. Pa. Jan. 17, 1991) (“[b]ecause the release was
contingent on [the attorney’s] approval and subject to his revision, it is reasonable to
assume that [defendants] intended the document to remain confidential until a final
draft was achieved, and thus the second draft would fall within the attorney-client
privilege.”).




                                        C78
     Case 17-51882-CSS         Doc 344     Filed 07/07/20     Page 87 of 128


Anne I. Salomon
March 27, 2019
Page 6



        In an effort to resolve this dispute, Noble agrees to re-review these
documents to determine if any drafts the Trust has challenged do not seek or reflect
legal advice and should be produced.

       (d)     Outstanding Challenges.

        Noble is reviewing the documents the Trust listed in Appendix A of its
February 14 letter, and will produce any documents that it determines are
discoverable in the coming days. However, Noble will not agree to re-review all
family members, duplicates, or near duplicates of these documents in addition to
reviewing the documents listed in Appendix A. The Trust can hardly characterize
this newly-minted request as a renewal of a previous request, and the notion that
asking Noble re-review additional hundreds or thousands of documents is an “effort
to streamline” the review process is simply false.

3.     Search Terms.

         Like most of the Trust’s requests, the Trust’s position on search terms ignores
the history of discovery in this case, particularly the extensive negotiations between
the Trust and Noble throughout 2017 that culminated in the parties’ agreement on
what search terms would be used. Almost two years ago, Noble and the Trust
negotiated the search terms Noble would use to collect and produce documents. At
no point during these negotiations, nor during the period since, has the Trust argued
that it was entitled to the overbroad discovery it now seeks. It is entirely
unreasonable for the Trust to renegotiate its prior agreement and propose additional,
expansive search terms at this late hour. And the Trust knows this, as reflected in the
Trust’s narrowing of Noble’s proposed search terms to run across documents from
Lazard, Weil, AlixPartners, and Arosa Capital Management LP. Nevertheless,
Noble is similarly willing to run appropriately narrow search terms to identify
potentially responsive information, and accordingly will run the search terms the
parties have discussed and agreed upon in Noble’s February 27 letter and the Trust’s
March 12 letter. Noble has run the Trust’s proposed terms for identifying potentially-
responsive documents relating to Houlihan Lokey and Barclays, and these terms
return over 25,000 documents. Noble believes it is overly burdensome to have to
review this large volume of documents, but is willing to meet-and-confer to discuss
more appropriately-tailored search terms.




                                       C79
     Case 17-51882-CSS         Doc 344     Filed 07/07/20      Page 88 of 128


Anne I. Salomon
March 27, 2019
Page 7



4.     Interrogatories.

       (a)     Communication Objection.

        In its letter dated February 15, 2019, the Trust asked Noble to confirm that it
did not withhold interrogatory responses on the basis of its objection to the definition
of “communication.” Noble’s February 27 Letter did so. In keeping with its
apparent strategy to bog down the parties in written discovery disputes, the Trust
now takes aim at Noble’s general understanding of the word “communication.”
According to the Trust, Noble must go beyond the scope of document discovery to
identify communications in response to the Trust’s interrogatories. Noble is under
no such obligation.

        The Federal Rules of Civil Procedure make clear that the scope of discovery
is the same for both document production and interrogatory responses. Under Rule
33(a)(2), “[a]n interrogatory may relate to any matter that may be inquired into under
Rule 26(b).” Rule 26(b), in turn, limits the scope of discovery to “any nonprivileged
matter that is relevant to any party’s claim or defense and proportional to the needs
of the case. . . .” Here, the parties agreed to the appropriate scope of discovery when
they negotiated the time frame, custodians, and search terms for document discovery.
The parties necessarily determined that information outside of these parameters was
either not relevant to this action or that a search of such information would not be
proportional to the needs of the case. The Trust’s assertion that Noble now must
essentially undertake a scorched-earth policy in responding to interrogatories has no
basis in the law. Indeed, it is another attempt to retrade the Trust’s prior agreement
on the relevant date range for document discovery. If the Trust has its way, then
Noble would need to review an enormous collection of documents from 2011-12
simply to determine whether they contained any “communications” that were
responsive to the interrogatories. Noble will not do so.

        Moreover, the Trust’s responses to Noble’s interrogatories makes clear that
Noble’s understanding of the proper scope of interrogatory responses is the correct
one. The Trust itself identified produced communications in response to Noble’s
interrogatories, and did not provide an exhaustive list of all documents that could
possibly be responsive. See e.g., Resp. to Interrog. No. 4 (“The Trust states that the
factual basis . . . is derived from documents produced by the parties in this case.”);
Resp. to Interrog. No. 5 (“The Trust states the factual basis . . . is derived from
documents including the following.”).

         Finally, negotiations over the scope of document discovery, particularly as it
relates to Pemex and Petrobras, are ongoing. Consistent with Rules 33 and 26,




                                       C80
     Case 17-51882-CSS         Doc 344     Filed 07/07/20      Page 89 of 128


Anne I. Salomon
March 27, 2019
Page 8



Noble will review additional information produced as a result of these negotiations
(if any), and supplement its interrogatory responses as required under Rule 26(e).
This process will likely resolve the Trust’s lingering concerns with Noble’s
interrogatory responses.

       (b)     Time Period.

        The Trust requests that Noble provide legal support for its position that the
time period for document discovery applies to interrogatory responses. Noble again
refers the Trust to Rules 33(a)(2) and 26(b) of the Federal Rules of Civil Procedure,
and the parties’ prior agreements that set the appropriate scope of the parties’
discovery obligations proportional to the needs of the case.

       (c)     Interrogatory Nos. 3 and 4.

        Noble confirms that it did not exclude communications between Pemex and
Petrobras and Paragon before August 2014, which should be readily apparent to the
Trust from the face of the produced documents. See e.g., Noble_00025750
(reflecting Pemex communication involving Lee Ahlstrom), Noble_00096058
(reflecting Petrobras communication involving Lee Ahlstrom and Andrew Tietz).

        Noble has already explained its reference to “certain documents” and will not
do so again here. See February 27 Letter, at pp. 7-8. To be clear, Noble’s responses
were fulsome at the time they were made and will be updated when appropriate
under Rule 26(e). Furthermore, Noble notes that the Trust did not identify “all
documents” in response to Noble’s interrogatories, and only identified a handful of
representative documents. See e.g., Resp. to Interrog. No. 5 (“The Trust states the
factual basis for its ‘allegation that Noble was aware that in September 2013, Pemex
had informed government regulators that it would no longer enter into new contracts
for Rigs older than fifteen years’ is derived from documents including the
following:”) (emphasis added). The Trust cannot have it both ways.

       (d)     Interrogatory No. 5.

        Noble will shortly supplement its response to Interrogatory No. 5 based on its
investigation and development of all facts and circumstances relating to this action,
which is ongoing.

5.     Earnings Transcripts

        For the first time in your email dated March 22, 2019, the Trust raised the
issue that “Noble produced only a partial set of its earnings transcripts,” and requests




                                       C81
    Case 17-51882-CSS         Doc 344     Filed 07/07/20     Page 90 of 128


Anne I. Salomon
March 27, 2019
Page 9



that Noble produce “a full set of transcripts, conference presentations, and drafts
scripts for these events from January 2011 through February 2016.” First, neither the
Trust, nor its predecessors have requested such documents from Noble. Second, as
we have told you at length, the parties in this case negotiated the proper scope of
discovery, pursuant to which Noble produced documents from January 1, 2013 to
October 4, 2014, with certain limited exceptions. Third, earnings transcripts from
Noble after the Spin-Off concern Noble’s business, not Paragon’s, and so are neither
relevant to the claims or defenses at issue nor proportional to the needs of the case.
That said, Noble will undertake reasonable efforts to identify and produce any non-
privileged earnings transcripts, conference presentations and scripts that are
responsive to the requests that have been served on Noble and that were created
between the time period of January 1, 2013 to October 4, 2014.



                                             Very truly yours,

                                             /s/ Abigail E. Davis

                                             Abigail E. Davis




                                      C82
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 91 of 128




         4/12/2019 A. Sheehan Davis Letter
                      Case 17-51882-CSS         Doc 344      Filed 07/07/20           Page 92 of 128




                         S KADDEN , A RPS , S LATE , M EAGHER & F LOM                          LLP
                                                 FOUR TIMES SQUARE
                                                                                                       FIRM/AFFILIATE OFFICES
                                               NEW YORK 10036-6522                                             -----------
                                                          ________                                           BOSTON
                                                                                                            CHICAGO
                                                   TEL: (212) 735-3000                                      HOUSTON
                                                   FAX: (212) 735-2000                                    LOS ANGELES
                                                                                                           PALO ALTO
                                                     www.skadden.com                                    WASHINGTON, D.C.
  DIRECT DIAL                                                                                              WILMINGTON
                                                                                                               -----------
212-735-3579
                                                                                                              BEIJING
  DIRECT FAX
                                                                                                            BRUSSELS
917-777-3579                                                                                               FRANKFURT
  EMAIL ADDRESS                                                                                            HONG KONG
ABIGAIL.SHEEHAN@SKADDEN.COM                                                                                  LONDON
                                                                                                             MOSCOW
                                                                                                              MUNICH
                                                                                                               PARIS
                                                                                                           SÃO PAULO
                                                                     April 12, 2019                           SEOUL
                                                                                                            SHANGHAI
                                                                                                           SINGAPORE
                                                                                                               TOKYO
                                                                                                             TORONTO

                  BY E-MAIL
                  Anne I. Salomon
                  Kirkland & Ellis LLP
                  300 North LaSalle
                  Chicago, IL 60654

                                         RE:    Paragon Litigation Trust v. Noble Corporation plc, et
                                                al. Adv. Proc. No.: 17-51882

                  Dear Anne:

                         I write in response to your two letters dated April 5, 2019 and your letter
                  dated April 8, 2019, regarding various discovery disputes that have arisen between
                  the Trust and Noble.

                  The Trust’s Requests for Additional Noble Custodians

                          Noble agreed to add Bodley Thornton, Bruno Morand, and Gene House as
                  custodians, despite the fact that the Trust did not request that they be added until
                  December 2018. Noble collected email from all three custodians, as well as the hard
                  drive that housed any of their documents. Noble also searched for any hard copy
                  documents for these custodians; there were none to collect. Noble plans to
                  substantially complete production from these custodians this month.

                          The search terms proposed by the Trust last week are overbroad and unduly
                  burdensome, and not narrowly tailored to Pemex and Petrobras issues, despite the
                  fact that the Trust seeks documents from these custodians “relating to Pemex and




                                                        C83
    Case 17-51882-CSS              Doc 344        Filed 07/07/20        Page 93 of 128


Anne I. Salomon
April 12, 2019
Page 2



Petrobras.” (April 5 Letter at 1.)1 In order to review and produce documents from
these custodians, Noble ran the search terms attached in Appendix A—which were
based on previously-negotiated and agreed search terms—to identify potentially
responsive documents related to the Pemex and Petrobras issues.

       With respect to Daniel Olivares, as we explained, he was not a Noble
employee, and does not have any documents on Noble’s servers or at a Noble email
address.2 As we also explained, we contacted Mr. Olivares to request documents in
his possession concerning his work for Noble. Mr. Olivares provided 323
documents, including emails, electronically-stored documents on Mr. Olivares’
personal computer, and hard copy documents. Rather than run search terms over
these documents, Noble reviewed all of them, and will substantially complete
production of responsive documents in the next week.

        The Trust also resurrected its request that Noble collect and review
documents from Rafael Andrade and Jim Ruehlen, despite the fact that (1) those
individuals transitioned to Paragon, and (2) the Trust removed its request to add
these custodians in its letter dated February 15, 2019.

        As is clear from the recent privilege issue concerning potentially privileged
Noble documents that were transferred to Paragon in connection with the Spin-Off,
Noble employees such as Andrade and Ruehlen (who transferred to Paragon) took
with them documents, including emails, from their tenure at Noble. Accordingly,
when Paragon’s documents were transferred to the Trust pursuant to the
Confirmation Order and the Litigation Trust Agreement (see LTA § 2.4), the Trust
gained possession, custody, and control of those documents. Whether or not Borr
Drilling has documents from Andrade or Ruehlen is irrelevant because Paragon has
them.

        Furthermore, the Trust’s renewed request to add these custodians, after
previously withdrawing it, is at odds with the Trust’s representations to the Court
during the March 20, 2019 conference that it was working to resolve “open
document issues” with Noble within approximately two months. Because the Trust
had withdrawn its request for these custodians, that clearly was no longer an “open
document issue,” and Noble will not undertake the burden of collecting and
reviewing documents from these two custodians.


1
    Using the Trust's proposed search terms resulted in an unreasonable number of hits for each
    custodian: Thornton (13,978); Morand (7,186); and House (9,091).
2
    Mr. Olivares’s agency agreement is attached hereto as Appendix B.




                                             C84
      Case 17-51882-CSS         Doc 344      Filed 07/07/20      Page 94 of 128


Anne I. Salomon
April 12, 2019
Page 3



The Trust’s Questions Regarding Certain of Noble’s Privilege Assertions

        As an initial matter, the Trust’s statement that it is the party acting swiftly to
resolve privilege disputes simply is not an accurate characterization of the
record. The Trust let a full year lapse between receiving Noble’s privilege logs and
raising these issues, which it did weeks before the parties’ original fact-discovery
cutoff. In any event, Noble continues to work diligently to address the Trust's
questions.

I.      Weintraub and the MSA

        Noble agrees with the Trust’s position that Paragon maintains the attorney-
client privilege over pre-spin documents concerning the Paragon Business, as that
term is defined in the Master Separation Agreement (“MSA”). Noble disagrees,
however, that it has improperly withheld any pre-spin or spin-related documents.
The MSA makes clear that the attorney-client privilege for spin-related documents
continues to reside with Noble. (MSA § 7.13.) Of course, after motion practice last
year, the parties reached an agreement, memorialized in a stipulation dated
September 25, 2018, regarding the proper treatment of Spin-related documents. The
Trust’s continued attempts to retrade that agreement is improper. Accordingly, for
any privileged, Spin-related documents that fall outside the parameters set forth in
that Stipulation that Noble agreed to produce, Noble will continue to assert the
privilege.

II.     Documents Shared with Third Parties

        In the Trust’s April 8 Letter, it requests that Noble produce any documents
that were sent to third parties because Noble asked the Trust to do so. In its April 3
Letter, Noble relied for this proposition on In re Teleglobe Commc’ns Corp., 493
F.3d 345, 361 (3d Cir. 2007). Teleglobe, however, recognizes that there are
exceptions to the general rule that disclosure to third parties waives the attorney-
client privilege. One of those exceptions is when a third party is necessary for the
provision of legal advice. Westinghouse Elec. v. Republic of Phil., 951 F.2d 1414,
1424 (3d Cir. 1991) (“When disclosure to a third party is necessary for the client to
obtain informed legal advice, courts have recognized exceptions to the rule that
disclosure waives the attorney-client privilege. For example, courts have held that
the client may allow disclosure to an ‘agent’ assisting the attorney in giving legal
advice to the client without waiving the privilege.”). The documents Noble is
continuing to withhold fall within this exception. The fact that the Trust re-reviewed
documents that Paragon shared with third parties and produced them after
determining they were not privileged does not impact Noble's analysis.




                                         C85
       Case 17-51882-CSS        Doc 344    Filed 07/07/20      Page 95 of 128


Anne I. Salomon
April 12, 2019
Page 4



III.     Documents Listed in Appendix A to the Trust’s April 5 Privilege Letter

        As indicated in my email dated April 9, 2019, Noble is conducting a re-
review of the 192 documents identified by the Trust in Appendix A to its April 5
Privilege Letter, and will produce any de-designated documents promptly.

        Although Noble has re-reviewed these documents, it is unreasonable to
request that Noble re-review all documents that are duplicates, near duplicates, or
family members of the challenged documents. Also, the Trust has had ample time to
identify all documents with which it has any privilege concerns. Noble conducted a
full review of the Trust’s privilege logs and identified all problematic log entries, at
one time, so that the parties could resolve the remaining privilege disputes
efficiently, rather than piecemeal.

IV.      Privilege Log Identifiers

        As the Trust is well aware, Noble produced four separate privilege logs,
reflecting documents: (i) withheld in Rule 2004 discovery; (ii) redacted in Rule 2004
discovery; (iii) withheld in responding to the UCC’s document requests; and (iv)
redacted in responding to the UCC’s document requests. Each document on those
logs contains a unique privilege identifier, and certainly the Trust can identify any
challenged document using the document’s Entry ID and the log on which that Entry
ID appears. Noble will not undertake the burden of re-naming each and every entry
in the privilege logs when it is already possible for the parties to describe any
challenged document.

V.       Documents on the Privilege Log with Bates Numbers
         For Which No Document Has Been Produced

      The Trust has identified three entries on Noble’s privilege logs that refer to a
document by Bates number, but for which the Trust does not have a produced
document. Noble will produce the three identified documents shortly.

Additional Search Terms Proposed by the Trust

        The Trust asked Noble to run the broad search terms “Barclays” and
“Houlihan or HL” across all custodians during the time frame January 1, 2013 –
October 4, 2014, and review those documents for production. As Noble explained,
those terms hit on approximately 25,000 documents, including family members.
Specifically, the term “Barclays” returned 20,991 documents, and “Houlihan or HL”
returned 6,503 documents.




                                       C86
    Case 17-51882-CSS           Doc 344     Filed 07/07/20      Page 96 of 128


Anne I. Salomon
April 12, 2019
Page 5



        When discussing appropriate search terms with the Trust's counsel in 2017,
the parties negotiated more narrowly-tailored terms. The Trust now seeks to
abandon and retrade the previously-agreed search terms to impose additional,
disproportionate burdens on Noble.

        Noble should not have to undertake the additional burden of reviewing such a
large number of documents, particularly when (1) Noble already produced thousands
of responsive documents and communications concerning Barclays and Houlihan;
(2) Barclays and Houlihan also produced thousands of documents; and (3) the Trust
is continuing to seek documents from Barclays.

      We are confirming the scope of the work performed for Noble by Barclays
and Houlihan between January 1, 2011 and December 31, 2014.

Noble’s Interrogatory Responses

        The Trust misunderstands Noble’s position with respect to the proper scope
of Noble’s interrogatory responses. As Noble explained in its March 27 Letter, and
as the Federal Rules of Civil Procedure make clear, the scope of discovery is the
same for both document production and interrogatory responses, and is governed by
Rule 26(b). Rule 26(b) limits the proper scope of discovery to “any nonprivileged
matter that is relevant to any party’s claim or defense and proportional to the needs
of the case. . . .” When the parties negotiated the proper scope of discovery in the
context of document requests, they did so recognizing that the agreed-upon time
frame, custodians, and search terms were relevant and proportional to the needs of
the case.

        In any event, Noble is undertaking a review of documents from Bodley
Thornton, Bruno Morand, Gene House, and Daniel Olivares that may contain
information responsive to the Trust’s Interrogatories, and Noble will update its
Interrogatory Responses consistent with Rule 26(e). Noble expects to produce
supplemental Interrogatory Responses to Interrogatories 3, 4, and 5 later this month.

Earnings Transcripts

       As an initial matter, Noble has never received a document request to produce
earnings transcripts, conference presentations, or scripts, let alone “full sets” of those
documents. In any event, as the Trust recognizes, Noble already produced
documents in these categories that are responsive and non-privileged. Furthermore,
earnings call transcripts and conference presentations are available online from




                                        C87
      Case 17-51882-CSS        Doc 344      Filed 07/07/20      Page 97 of 128


Anne I. Salomon
April 12, 2019
Page 6



sources readily accessible to the Trust. That said, Noble has agreed to produce
responsive, non-privileged earnings transcripts, conference presentations, or scripts.

        Further, the parties negotiated the proper scope of discovery, pursuant to
which Noble produced documents from January 1, 2013 to October 4, 2014, with
certain limited exceptions. The fact that earnings calls concerning Noble’s business
are not relevant to Paragon’s post-spin performance is a far cry from taking the
position that post-October 4, 2014 market conditions are irrelevant to the case. They
are, of course, extremely relevant insofar as they impact Paragon’s performance and
eventual bankruptcy. Noble will not undertake a collection and review of these
documents over a five year span.

The Trust’s Privilege Logs

I.      Attorney Affiliation List

        Noble appreciates the Trust’s willingness to prepare a list of attorneys acting
on behalf of Paragon to facilitate Noble’s ability to assess the Trust’s privilege calls,
but disagrees that the Trust’s initial logs contained sufficient identifying information
to conduct such an analysis. Noble, of course, identified (with an asterisk) every
attorney listed on its privilege logs to facilitate the Trust’s review. And although the
Trust faults Noble for “omitting domain names” in its privilege logs, as Noble
explained in its May 11, 2018 letter, “[b]ecause some email files did not include
email addresses, Noble was not able to list every email address on the privilege log.
Accordingly, Noble provided the accompanying affiliation list in an effort to convey
the various individuals’ corporate affiliations in an efficient manner.” (May 11
Letter at 2.)

II.     Entries Containing Missing Metadata Fields or Conflicting
        Author or Sender/Recipient and Document Description Fields

        With respect to entries on the Trust’s privilege log that contain conflicting
descriptions and metadata fields, Noble appreciates the Trust’s willingness to re-
review certain of the documents that Noble identified. Noble disagrees, however,
that there is “nothing for the Trust to update” in its log entries. In fact, these
discrepancies create considerable concern that the attorney-created descriptions of
the documents are inaccurate. Further, the fact that the Trust included a metadata
field for “author” that conflicts with its own descriptions of withheld documents does
not in any way obligate Noble to include additional metadata in its privilege logs—
which it already revised to include additional metadata previously requested by the
Trust. In fact, instead of relying on possibly unreliable metadata, Noble attorneys




                                        C88
       Case 17-51882-CSS       Doc 344     Filed 07/07/20     Page 98 of 128


Anne I. Salomon
April 12, 2019
Page 7



manually reviewed and inputted the “legal source” for each privilege assertion where
it was not clear from the sender/recipient metadata that the document was privileged.
Noble reiterates its request that the Trust provide a revised log that eliminates these
inconsistencies and expects the Trust to accurately identify the legal source of its
documents. If, during the course of doing so, the Trust determines that the
documents are not, in fact, privileged, please produce them.

        With respect to entry 300 on the Trust’s privilege log, if that document was
work product prepared at the request of counsel, and therefore covered by the work
product protection, then the Trust would be entitled to withhold the document. If,
however, it is a business document that does not reflect legal advice, it must be
produced. Noble will not agree, however, that the Trust’s waiver of any attorney-
client privilege or work product protection by producing documents it believes are
privileged means that Noble must do the same. Noble will produce (and has
produced) documents authored by business people that do not request or reflect legal
advice.

III.     Weil/Lazard Documents

         It strains credibility that the Trust could not identify the documents on its
privilege log that contain descriptions reflecting that the documents were
presentations prepared by Weil or Lazard. Regardless, attached at Appendix C is a
list of those log entries. Noble reiterates its request that the Trust explain the basis
for withholding the redacted information and also produce or identify by Bates
number the engagement letter between Lazard and the Debtors indicating that
Lazard’s engagement went beyond any analysis of the Noble Settlement, with
respect to which the Debtors waived all attorney-client and work product protections.

       Noble looks forward to the Trust’s production of its revised privilege logs
and any de-designated documents in the next several days.

                                              Very truly yours,

                                              /s/ Abigail E. Davis

                                              Abigail E. Davis

cc:      David Zott
         Jeffrey Zeiger
         William Arnault

Attachments




                                       C89
          Case 17-51882-CSS      Doc 344    Filed 07/07/20   Page 99 of 128




                                    APPENDIX A


     Search Terms for Custodians Bodley Thornton, Bruno Morand, and Gene House



1.    Pemex AND ((15 or fifteen) w/10 “years”) AND (modern* OR age* OR old*)

2.    Pemex w/25 ((contrac* OR renew* OR cancel* OR terminate*) w/25 (modern* OR age*
      OR old*))

3.    Petrobras w/25 ((“Leo Segerius” OR “Roger Eason” OR “Therald Martin” OR Phoenix
      OR NPh OR NRE OR NLS OR NTM OR DPDS3 OR DPDS2 OR MSS2 OR DPDS1)
      w/25 (terminat* OR renew* OR cancel*))

4.    Pemex AND ((September 17, 2013) OR (Sept. 17, 2013) OR (Septiembre w/10 “2013”)
      OR (Pemex w/5 notice))

5.    PEP-229-2013

6.    PEP-259-2014




                                        C90
   Case 17-51882-CSS        Doc 344    Filed 07/07/20    Page 100 of 128




                               APPENDIX B


                Limited Representative Agreement between
Noble Drilling México, S. de R.L. de C.V. and Tsul Servicios, S.A.P.I. de C.V.




                                    C91
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 101 of 128




                          C92
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 102 of 128




                          C93
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 103 of 128




                          C94
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 104 of 128




                          C95
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 105 of 128




                          C96
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 106 of 128




                          C97
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 107 of 128




                          C98
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 108 of 128




                          C99
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 109 of 128




                          C100
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 110 of 128




                          C101
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 111 of 128




                          C102
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 112 of 128




                          C103
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 113 of 128




                          C104
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 114 of 128




                          C105
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 115 of 128




                          C106
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 116 of 128




                          C107
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 117 of 128




                          C108
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 118 of 128




                          C109
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 119 of 128




                          C110
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 120 of 128




                          C111
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 121 of 128




                          C112
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 122 of 128




                          C113
           Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 123 of 128




                                 APPENDIX C



Unique Privilege Identifier


35
40
41
88
94
117
120
124
586
587
590
1448
1449
1902
1903
1033
1216




                                     C114
Case 17-51882-CSS   Doc 344   Filed 07/07/20   Page 124 of 128




         9/18/2019 A. Sheehan Davis Letter
                      Case 17-51882-CSS          Doc 344      Filed 07/07/20         Page 125 of 128




                         S KADDEN , A RPS , S LATE , M EAGHER & F LOM                          LLP
                                                 FOUR TIMES SQUARE
                                                                                                        FIRM/AFFILIATE OFFICES
                                               NEW YORK 10036-6522                                              -----------
                                                             ________                                         BOSTON
                                                                                                             CHICAGO
                                                     TEL: (212) 735-3000                                     HOUSTON
                                                     FAX: (212) 735-2000                                   LOS ANGELES
                                                                                                            PALO ALTO
                                                       www.skadden.com                                   WASHINGTON, D.C.
  DIRECT DIAL                                                                                               WILMINGTON
                                                                                                                -----------
212-735-3579
                                                                                                               BEIJING
  DIRECT FAX
                                                                                                             BRUSSELS
917-777-3579                                                                                                FRANKFURT
  EMAIL ADDRESS                                                                                             HONG KONG
ABIGAIL.SHEEHAN@SKADDEN.COM                                                                                   LONDON
                                                                                                              MOSCOW
                                                                                                               MUNICH
                                                                                                                PARIS
                                                                                                            SÃO PAULO
                                                                        September 18, 2019                     SEOUL
                                                                                                             SHANGHAI
                                                                                                            SINGAPORE
                                                                                                                TOKYO
                                                                                                              TORONTO
                  BY EMAIL
                  Anne I. Salomon
                  Kirkland & Ellis
                  300 North LaSalle
                  Chicago, IL 60654

                                RE:     Paragon Litigation Trust v. Noble Corporation PLC, et al.
                                        Adv. Proc. No.: 17-51882

                  Dear Anne:

                          I write in connection with Noble’s Second Supplemental Responses and
                  Objections (the “Additional Supplemental Responses”) to the Trust’s First Set of
                  Interrogatories Directed to the Noble Corporate Defendants (the “First
                  Interrogatories”), as well as to respond in particular to certain related issues raised by
                  the Trust in your letter dated August 21, 2019 (the “Letter”).

                           As you are aware, Noble supplied its initial responses and objections to the
                  Trust’s First Interrogatories on December 19, 2018 and provided supplemental
                  responses and objections on May 23, 2019 (the “Supplemental Responses”). In both
                  its initial and Supplemental Responses, Noble provided answers to the Trust’s First
                  Interrogatories that fully satisfied its obligations under the Federal Rules.

                         Noble also reviewed documents from Daniel Olivares, Bruno Morand,
                  Bodley Thornton and Gene House—Noble employees or agents who had
                  responsibility for Pemex and Petrobras contracting from January 1, 2012 to August
                  1, 2014—and produced responsive documents in April 2019.

                          Nonetheless, in an effort to provide the Trust even more complete answers to
                  the First Interrogatories, Noble has included with this letter its Additional




                                                         C115
    Case 17-51882-CSS             Doc 344       Filed 07/07/20       Page 126 of 128


Anne I. Salomon
September 18, 2019
Page 2



Supplemental Responses, which identify additional documents and communications
responsive to the First Interrogatories.

        That said, the Trust’s position that Noble must disclose all communications,
written or oral, in response to the First Interrogatories, is incorrect, particularly
where the Trust’s interrogatories request that information from a period of time that
is not sufficiently tailored and seek communications from more than five years ago.1

        First, as Noble has pointed out several times, the scope of discovery for
interrogatory responses is governed by Rule 26(b), and is limited to “any
nonprivileged matter that is relevant to any party’s claim or defense and proportional
to the needs of the case.” The Trust does not, and cannot, explain why its insistence
that Noble identify any and all communications for a period of several years is
proportionate. Notably, the Trust does not cite a single case from within the Third
Circuit in support of its position. Indeed, the Government Benefits Analysts case that
the Trust cites actually rejects its position. In that case, the responding party had not
objected to the interrogatory at issue on the grounds that it was overbroad and unduly
burdensome (as Noble has here), so the court did not even consider that objection.
But when the responding party did so object to an interrogatory requesting “all
communications,” the Court agreed that the interrogatory was “overly broad and
unduly burdensome on its face,” and “replac[ed] the word ‘all’ with the phrase
‘principal and material.’” Gov’t Benefits Analysts, Inc. v. Gradient Ins. Brokerage,
Inc., No. 10-2558-KHV-DJW, 2012 WL 3292850, at *15 (D. Kan. Aug. 13, 2012).

        Other courts have held that blockbuster interrogatories like the Trust’s are
inappropriate, and that these types of “oral communications between []
employees . . . are more reasonably obtained through depositions and not by an
interrogatory.” See, e.g., Bat v. A.G. Edwards & Sons, Inc., No. 04-cv-02225-REB-
BNB, 2005 WL 6776838, at *8 (D. Colo. Nov. 18, 2005). See also IBEW v. Star-Lo
Electric, No. 08–900 (SRC), 2010 WL 11530624, at *4 (D.N.J. Mar. 1, 2010) (“The
Court finds that Interrogatory Number 20 is overly broad. Defendants failed to
provide reasonable limitations to their request, failed to provide a time frame and did
not state with specificity what type of information they requested. The interrogatory
requests information pertaining to oral communications that may not have been


1
    Interrogatory 3 requests “all Communications You had with Pemex prior to August 1, 2014
    Concerning its drilling plans or its relationship with You”; Interrogatory 4 requests “all
    Communications You had with Petrobras prior to August 1, 2014 Concerning its drilling plans or
    its relationship with You”; and Interrogatory 5 requests “any Communications with potential
    customers Concerning the potential customers’ intentions to contract for the Lorris Bouzigard,
    Muravlenko, or Seilliean rigs.”




                                           C116
   Case 17-51882-CSS          Doc 344     Filed 07/07/20     Page 127 of 128


Anne I. Salomon
September 18, 2019
Page 3



memorialized in writing and/or that is simply impossible to recollect, particularly
with no time frame in mind. Therefore, the Court denies Defendants’ motion to
compel as to Interrogatory 20.”); Sussman v. Paradigm Partners, Inc., No. 91 Civ.
2891 (KMW), 1993 WL 385752, at *2 (S.D.N.Y. Sept. 22, 1993) (“Depositions are
surely a more efficient means than interrogatories of eliciting information about oral
conversations. Thus, these interrogatories need not be answered.”).

       With respect to Interrogatory 5, Noble has provided the Trust with additional
responsive communications in its Additional Supplemental Responses.

       With respect to Interrogatory 3, Noble has also provided the Trust with
additional responsive communications in its Additional Supplemental Responses.
The Trust has taken issue with certain documents identified in Noble’s Supplemental
Responses. Documents Noble_00177523; Noble_00177524; Noble_00177525;
Noble_00177526 were included in Noble’s Supplemental Response for sake of
completeness because they were family members of Noble_001177522 and
Noble_00177527. Noble will produce these four documents this week. The other
documents with which the Trust takes issue were included for sake of completeness
because they are cover emails to documents identified in the Supplemental
Responses, and so were included because they reflect the recipients of the responsive
attachments.

         Finally, Noble has provided in its Additional Supplemental Responses
additional communications responsive to Interrogatory 4. With respect to the Trust’s
question about the document bearing Bates PGN20180001470, that is the correct
Bates number for the document; we are unsure why the Trust was not able to identify
it, but are happy to discuss on a meet and confer if helpful.



                                             Very truly yours,

                                             /s/ Abigail E. Davis

                                             Abigail E. Davis




                                      C117
Case 17-51882-CSS     Doc 344   Filed 07/07/20     Page 128 of 128




Dated: July 7, 2020

                                PACHULSKI STANG ZIEHL & JONES LLP

                                /s/ Timothy P. Cairns
                                Laura Davis Jones (DE Bar No. 2436)
                                Timothy P. Cairns (DE Bar No. 4228)
                                919 N. Market Street, 17th Floor
                                P.O. Box 8705
                                Wilmington, DE 19899-8705 (Courier 19801)
                                Telephone: (302) 652-4100
                                Facsimile: (302) 652-4400
                                ljones@pszjlaw.com
                                tcairns@pszjlaw.com

                                - and -

                                KIRKLAND & ELLIS LLP
                                David J. Zott, P.C. (admitted pro hac vice)
                                Jeffrey J. Zeiger, P.C. (admitted pro hac vice)
                                William E. Arnault (admitted pro hac vice)
                                Anne I. Salomon (admitted pro hac vice)
                                Jason A. Feld (admitted pro hac vice)
                                300 N. LaSalle Street
                                Chicago, IL 60654
                                Telephone: (312) 862-2000
                                Facsimile: (312) 862-2200
                                dzott@kirkland.com
                                jzeiger@kirkland.com
                                warnault@kirkland.com
                                anne.salomon@kirkland.com
                                jason.feld@kirkland.com

                                Co-Counsel for Plaintiff
